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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


 PAUL PARSHALL, Individually and On              )
 Behalf of All Others Similarly Situated,        )
                                                 )
                         Plaintiff,              )   Case No. 1:20-cv-01279-RGA
                                                 )
           v.                                    )
                                                 )
 DIME COMMUNITY BANCSHARES,                      )
 INC., VINCENT F. PALAGIANO,                     )
 MICHAEL P. DEVINE, KENNETH J.                   )
 MAHON, ROSEMARIE CHEN, STEVEN                   )
 D. COHN, PATRICK E. CURTIN,                     )
 KATHLEEN M. NELSON, JOSEPH J.                   )
 PERRY, KEVIN STEIN, and BARBARA G.              )
 KOSTER,                                         )
                                                 )
                         Defendants.             )

                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action, and no class has been certified in the

Action.

 Dated: November 17, 2020                            RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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